A




                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION
                                   No. 5:15-CV-451-BO


    RAYMOND TARLTON, as Guardian Ad Litem           )
    for HENRY LEE MCCOLLUM; KIMBERLY                )
    PINCHBECK, as Limited Guardian and              )
    Conservator of the Estate of HENRY LEE          )
    MCCOLLUM; J. DUANE GILLIAM, as Guardian         )
    of the Estate of LEON BROWN,                    )
                                                    )
                           Plaintiffs,              )
                                                    )
             V.                                     )       SPECIAL INTERROGATORIES
                                                    )
    KENNETH SEALEY, both individually and in his )
    official capacity as Sheriff of Robeson County; )
    ROBERT E. PRICE, Administrator C.T.A. of the )
    Estate of JOEL GARTH LOCKLEAR, SR.;             )
    CHARLOTTE NOEL FOX, Administrator of the )
    Estate of KENNETH SNEAD; LEROY ALLEN, )
                                                    )
                           Defendants.              )


    With respect to Plaintiff Henry McCollum, do you find by a preponderance of the evidence
    that:

    I.    Defendants Leroy Allen and Kenneth Snead acted jointly in concert to deprive Henry
          McCollum of one or more of his constitutional rights?

                 /       YES                         - - - - - NO

          If you answer YES to Question I, then you need not answer the individualized questions
          particular to each Defendant below, but you must still answer general Questions II-V
          below.

    II.   Defen7an coerced or fabricated Henry McCollum's written confession?

           _ _ _ _ _ YES                             _ _ _ _ _ NO

          If you answered YES to Question I above, you need not answer the following subsections.
          If you answered NO to Question I and YES to Question II, you must specify which
          Defendants your YES response in Question II applies to:


                                                 1
                     Leroy Allen

                     Kenneth Snead


III.   Defendants suppressed material exculpatory evidence in bad faith before Henry
       McCollum's trials?

       -----
            /         YES                         - - - - - NO

       If you answered YES to Question I above, you need not answer the following subsections.
       If you answered NO to Question I and YES to Question III, you must specify which
       Defendants your YES response in Question III applies to:

                     Leroy Allen

                     Kenneth Snead

IV.    Defendants suppressed material exculpatory evidence in bad faith after Henry
       McCollum's 1991 trial?

       - - - - - YES                              - - - - - NO

       If you answered YES to Question I above, you need not answer the following subsections.
       If you answered NO to Question I and YES to Question IV, you must specify which
       Defendants your YES response in Question IV applies to:

                     Leroy Allen

                     Kenneth Snead


V.     Defendants failed to investigate Roscoe Artis following Henry McCollum's arrest in
       bad faith?

       -----          YES                         ____
                                                     / _ _ NO

       If you answered YES to Question I above, you need not answer the following subsections.
       If you answered NO to Question I and YES to Question V, you must specify which
       Defendants your YES response in Question V applies to:

                     Leroy Allen

                     Kenneth Snead



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With respect to Plaintiff Leon Brown, do you find by a preponderance of the evidence that:

I.     Defendants Leroy Allen and Kenneth Snead acted jointly in concert to deprive Leon
       Brown of one or more of his constitutional rights/

       _ _ _ _ _ YES                              __ V____ NO
       If you answer YES to Question I then you need not answer the individualized questions
       particular to each Defendant below, but you must still answer general Questions II-V
       below.

II.    Defendants coerced or fabricated Leon Brown's written confession?

           ✓
       -----='-----
                      YES                         - - - - - - NO

       If you answered YES to Question I above, you need not answer the following subsections.
       If you answered NO to Question I and YES to Question II, you must specify which
       Defendants your YES response in Question II applies to:

                     Leroy Allen

          ✓          Kenneth Snead


III.   Defendants suppressed material exculpatory evidence in bad faith before Leon
       Brown's trials?

       ___,{..,_
             / _ _ YES                            - - - - - - NO

       If you answered YES to Question I above, you need not answer the following subsections.
       If you answered NO to Question I and YES to Question III, you must specify which
       Defendants your YES response in Question III applies to:

                      Leroy Allen

                      Kenneth Snead


IV.    Defendants suppressed material exculpatory evidence in bad faith after Leon
       Brown's 1992 trial?

       ____
         ).,/ _ / _ _ YES                         - - - - - - NO




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              If you answered YES to Question I above, you need not answer the following subsections.
              If you answered NO to Question I and YES to Question IV, you must specify which
              Defendants your YES response in Question IV applies to:

                               Leroy Allen

                               Kenneth Snead


       V.     Defendants failed to investigate Roscoe Artis following Leon Brown's arrest in bad
              faith?

              -----            YES                         ________.cc./. L_ _ NO
              If you answered YES to Question I above, you need not answer the following subsections.
              If you answered NO to Question I and YES to Question V, you must specify which
              Defendants your YES response in Question V applies to:

                               Leroy Allen

                               Kenneth Snead


       Once you have completed this form, return to the Verdict to answer Issue 2 and Issue 3.


       This the   /   i{   day of May, 2021.




                                                           Printed Name of the Foreperson of the Jury




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